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                             EXHIBIT 31
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1
2       UNITED STATES DISTRICT COURT
3       SOUTHERN DISTRICT OF NEW YORK
4       Case No. 03-MDL-1570 (GBD) (SN)
5       -----------------------------------x.
6       IN RE: TERRORIST ATTACKS ON
7       SEPTEMBER 11, 2001
8       -----------------------------------x
                            April 7, 2021
9                           2:25 p.m.
10
11                         Videotaped Deposition via Zoom
12      of MATTHEW A. LEVITT, pursuant to Notice,
13      before Jineen Pavesi, a Registered
14      Professional Reporter, Registered Merit
15      Reporter, Certified Realtime Reporter and
16      Notary Public of the State of New York.
17
18
19
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21
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23
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25

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1                                LEVITT
2       lawyers, really just to review how these
3       things go, especially given that this is
4       on Zoom, which is different, at least for
5       me.
6                          That's it.
7              Q.          Approximately how much time did
8       you spend preparing for today's
9       deposition?
10             A.          A handful of hours; an hour
11      before we met today, an hour or two hours
12      for the past several days, so not many
13      hours.
14             Q.          Dr. Levitt, when did you first
15      begin to consult on this case, and by this
16      case, there are, as you know, a series of
17      cases beginning with the Burnett case
18      filed in August of '02 and I mean to refer
19      to that case and all of the subsequent
20      cases that are part of the multidistrict
21      litigation going forward.
22             A.          I don't have the date in front
23      of me when I was hired to serve as an
24      expert witness by Motley Rice, it's
25      several years ago now.

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1                                LEVITT
2              Q.          And was Motley Rice the firm
3       that first contacted you to serve as an
4       expert in this case?
5              A.          To serve as an expert in this
6       case, yes.
7                          Early on, I don't know the
8       date, probably somewhere around 2003, the
9       firm of Cozen O'Connor asked me to come to
10      Philadelphia for a few hours for a
11      conversation, which I did.
12                         I was not hired as an expert,
13      it was not an ongoing relationship of any
14      kind, I think it was probably a two-hour
15      meeting, I took the train, we met, I took
16      the train back.
17             Q.          At the time that you met with
18      Cozen O'Connor in or around 2003, were any
19      of these cases already on file, to your
20      knowledge?
21             A.          I don't know.
22             Q.          Did you review a complaint or
23      draft complaint prior to your meeting with
24      Cozen O'Connor?
25             A.          I don't recall.

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1                                LEVITT
2              Q.          Did you then have a further
3       discussion about whether you would be
4       hired or not?
5              A.          It's a long time ago, but not
6       to my knowledge, no, this was very early
7       days.
8                          I don't remember much of the
9       meeting other than it was very general and
10      I am assuming that at the end of it they
11      said, well, if we need something from you,
12      we'll come back to you or something.
13                         But we weren't in touch then
14      for several years, quite a few years.
15             Q.          But the purpose of the meeting
16      was to discuss the case that they are
17      contemplating or had brought, is that
18      correct?
19             A.          Again, I don't remember if they
20      had filed or not; the purpose was to talk
21      in general terms about 9/11, about Al
22      Qaeda financing this type of thing.
23                         Of course that was in support
24      of either the case that they had already
25      filed or a case that they were going to

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1                                LEVITT
2       file.
3                          But my personal involvement was
4       kind of not anywhere near that kind of
5       granular level.
6              Q.          Did you send them a bill for
7       your time in or around 2003?
8              A.          I certainly hope so, it would
9       have been a handful of hours, literally I
10      took the train up, we met for probably a
11      couple of hours or so, I took the train
12      back.
13             Q.          And when was the next time that
14      you were contacted by anyone on the
15      plaintiffs' team with respect to these
16      cases that bring us here today?
17             A.          I don't remember the date and I
18      don't remember if the first contact was
19      from Motley Rice or Cozen O'Connor, but it
20      was kind of --           they were working together
21      at that point already and we had a meeting
22      in Washington, D.C. at one of their
23      offices to discuss the possibility of me
24      serving as an expert witness.
25             Q.          Was that discussion before you

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1                                LEVITT
2       went into the government of the Department
3       of Treasury or after you came out?
4              A.          Certainly after.
5              Q.          And so the '03 meeting was the
6       only meeting that you recall before you
7       went into government?
8              A.          Correct.
9              Q.          When did you first see the
10      complaint in this case?
11             A.          Oh, I have no idea.
12             Q.          Or a complaint.
13             A.          I apologize, I talked over you,
14      can you say it again.
15             Q.          When did you first see any
16      complaint that has been filed in this
17      case?
18             A.          Oh, I honestly don't know, I
19      wouldn't know when I first saw it.
20             Q.          Would you know whether it was
21      before you went into the Treasury
22      Department or after?
23             A.          I don't; it is possible that I
24      saw the complaint before going into
25      Treasury, because it would be a matter

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1                                LEVITT
2       offered a job at the F.B.I. pending my
3       clearances.
4                          Because I had spent time in
5       Israel, the West Bank and Gaza Strip,
6       pardon me, because I had spent time in
7       Israel, West Bank and Gaza Strip, doing my
8       field research during the summer of 1997,
9       the F.B.I. kind of warned me that my
10      clearances were going to take some time
11      and so I already had two children at the
12      time, my wife's a teacher, we decided to
13      move down to the Washington area from the
14      Boston area that summer so that the kids
15      could be in school, my wife could have a
16      job, and I applied for and got the
17      position as a Soref fellow, which is kind
18      of the introductory level, junior level
19      position on the senior research staff at
20      The Washington Institute of Policy, the
21      time was a one-year fellowship, the F.B.I.
22      told me my clearance would take 11, 12
23      months.
24                         In the end the clearances went
25      through faster than anticipated and I only

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1                                LEVITT
2       terrorism analysis units, the whole idea
3       of kind of a truly trained intelligence
4       analyst position at the F.B.I. was
5       something new.
6                          Before then it was really
7       something that people just kind of got
8       promoted up into, but not something that
9       they necessarily had the advanced degrees
10      for, et cetera.
11                         I got hired into the
12      International Terrorism Intelligence Unit,
13      so I was on the intelligence side of the
14      house, F.B.I. of course is the Federal law
15      enforcement agency, but it also is
16      responsible for the domestic intelligence
17      function.
18                         I provided tactical and
19      strategic analytical support for F.B.I.
20      counterterrorism operations related to
21      Middle East terrorist activity.
22                         So the Middle East unit that I
23      supported covered state sponsors of
24      terrorism and terrorist groups emanating
25      from the Middle East.

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1                                LEVITT
2               Q.         Was Al Qaeda one of those
3        groups?
4               A.         I did not          -- well, I am
5        limited into what I can get into the
6        detalls of what I did, but what I can say
7        is I did not work full-time on Al Qaeda, I
8        worked on a large number of different
9        things, but I did work on Al Qaeda while I
10       was there, including a senior analytical
11       position during the millennium plot and
12       also in the 9/11 investigation.
13              Q.         In the course of your time at
14       the F.B.I., did you do any work involving
15       charities?
16              A.         So, yes, the F.B.I. doesn't
17       have like a charities department, but
18       because there have been cases of terrorist
19       abuse of charity and fraud, on defrauding
20       charities, defrauding donors, I did have
21       experience in that type of issue.
22              Q.         Did you look or do any work
23       involving Gulf-based charities?
24              A.         I did a lot of work relating to
25       charities in the United States and

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1                                 LEVITT
2        charities in the Middle East.
3               Q.         Including in the Gulf or just
4        in Palestine/Israel?
5               A.         It was not just
6        Palestine/Israel, but I don't remember
7        honestly, because we didn't have --                      we
8        would have full field investigations of
9        entities in the United States, other
10       entities abroad would interact with those
11       entities in the United States and come up
12       in the course of our investigation, but I
13       honestly wouldn't remember a list.
14              Q.         I presume that you had access
15       to classified information in your capacity
16       as an F.B.I. intelligence research
17       specialist, correct?
18              A.         Yes.
19              Q.         You said some of your work
20       crossed Al Qaeda.
21                         Was it part of your remit at
22       the F.B.I. to look into the origins,
23       structure, or history of Al Qaeda or were
24       you just focused on current actionable
25       intelligence?

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1                                LEVITT
2               A.         So the work we did did
3        obviously involve current actionable
4        intelligence, but it was frequently our
5        responsibility to help put things into
6        context and so it would not be uncommon
7        for us as analysts to be looking at
8        earlier activities, activities elsewhere,
9        as it related to the investigations that
10       were ongoing at the F.B.I.
11              Q.         Did you look into the
12       Afghan-Soviet period while you were at the
13       F.B.I. with respect to the origins of Al
14       Qaeda?
15              A.         Again, I'm very limited in what
16       I can say, but what I can explain to you
17       is that we would not have had an open
18       investigation into that, so if there was
19       anything like that, which I don't recall,
20       it would have been something in the
21       context of just something short providing
22       context to something else, something very
23       specific.
24              Q.         You said that you had
25       involvement with respect to the events of

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1                                LEVITT
2        going in, I forget, a few hours a week, I
3        said, you know what, I think it would be
4        best if you get only full-time people and
5        they agreed.
6               Q.         Did you not have a clearance
7        while you were working for the 9/11
8        Commission, had the clearance not come
9        through?
10              A.         That's true, that's correct.
11                         I only ended up staying there
12       for a small number of weeks.
13                         There is also the issue that
14       they wanted to interview me and they did
15       ultimately interview me and if I had
16       stayed that would have been difficult, so
17       this kind of addressed both issues.
18              Q.         I see you don't list that on
19       the CV; is that because of the brevity of
20       time that you were there?
21              A.         Yes, it was a very part-time
22       short thing.
23                         I feel like, you know, you put
24       that on your CV and people aren't going to
25       pay attention to the time and it's going

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1                                LEVITT
2               A.         I did and then when I left, I
3        didn't have to, but I chose to terminate
4        it.
5               Q.         And have you had a security
6        clearance since?
7               A.         I have not had a regular
8        security, an ongoing security clearance
9        since, and in very rare instances, where
10       the intelligence community wanted to
11       consult me on something, they either, if
12       it's a secret collateral clearance
13       information, they just grant that to you
14       for the moment, and then for more
15       sophisticated stuff, they can basically
16       read you in, you sign a bunch of papers,
17       do your consultancy, they read you out,
18       you sign a bunch of papers and you're done
19       and can't talk about it.
20              Q.         Did any of those subsequent
21       clearances have anything to do with events
22       that are the subject of this case?
23              A.         The good news is I can't
24       remember because the bad news is if I did
25       I wouldn't be able to tell.

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1                                LEVITT
2                          It is the same type of thing,
3        you have to sign all kinds of things to do
4        this, to be, quote/unquote, read out, and
5        that most basic thing is you can't talk
6        about what you did here.
7               Q.         Let me ask you this question
8        then.
9                          You saw a lot of classified
10       material while you were at Treasury,
11       correct?
12              A.         Correct.
13              Q.         And you reviewed intelligence
14       product concerning terrorism, correct?
15              A.         Correct.
16              Q.         And you reviewed intelligence
17       product regarding OFAC designations of
18       SDGTs, correct?
19              A.         Correct.
20              Q.         And you reviewed intelligence
21       product concerning designations of
22       defendants in this case, correct?
23              A.         At least some; certainly not
24       all of the defendants in this case.
25              Q.         Did you review intelligence

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1                                LEVITT
2        product concerning the IIRO or
3        International Islamic Relief Organization?
4               A.         I'm sure I did.
5               Q.         You've testified as an expert
6        and you list the cases that you have, you
7        say you've testified in 19 domestic
8        criminal cases, or at least I counted them
9        up, does that sound about right?
10              A.         It does.
11              Q.         Have you testified in any cases
12       since you prepared this CV in or around
13       March 2020?
14              A.         Is it possible for you to
15       scroll down the page and I can just take a
16       look.
17              Q.         It is on page A 049, it is on
18       the third page of your CV.
19              A.         Okay.
20                         Just in terms of how to go
21       about this, I don't know if it's you or
22       court reporter doing this right now --
23              Q.         Not me.
24              A.         Well, the way this is working
25       right now is it is very, very good for me

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1                                LEVITT
2               A.         That's correct.
3               Q.         Have you ever been asked to
4        testify by a defendant?
5               A.         Not to my knowledge in criminal
6        cases, but I have in immigration cases and
7        have provided such testimony.
8               Q.         On behalf of people who were
9        about to be deported?
10              A.         Correct.
11              Q.         Let's look at the foreign
12       terrorism case; are those all criminal
13       cases as well, next paragraph down, and
14       you list six?
15              A.         So I believe they are.
16                         CBSP v. Samuels we would
17       consider to be a civil case, but in the
18       French system it was a libel case, in the
19       French system that is kind of double --
20       there is a prosecutor in there as well.
21              Q.         Was your testimony in those
22       cases on behalf of the prosecution?
23              A.         So CBSP, again, we would think
24       of it as a civil case.
25                         CBSP was the plaintiff in that

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1                                 LEVITT
2        see if I can find --
3               Q.         We can --
4               A.         I don't want to waste your
5        time.
6               Q.         I presume in all of these cases
7        you've testified on behalf of plaintiffs,
8        is that correct?
9               A.         I believe so, yes.
10              Q.         How many times in the course of
11       your giving expert testimony have you
12       testified in a case that was primarily
13       about the activities of Al Qaeda?
14              A.         A handful.
15                         The Foley/Sotloff case is an
16       example of an ISIS case, going back and
17       explaining the history of ISIS coming out
18       of Al Qaeda, Iraq, et cetera.
19              Q.         Al Qaeda and Iraq is post
20       September 11th, correct?
21              A.         Yes.
22              Q.         Have you ever given testimony
23       in cases that involved the activities of
24       Al Qaeda prior to September 11th, other
25       than this case?

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1                                LEVITT
2               A.         No.
3               Q.         Have you ever given testimony
4        about Gulf charities in any of your expert
5        testimony prior to this case.
6               A.         There were several cases that
7        involved issues of charities and likely
8        included issues of Gulf charities.
9                          Examples would include the Holy
10       Land Foundation case, the Arab Bank case,
11       the Fawaz Damrah, D-A-M-R-A-H, case, but I
12       don't remember specifically beyond that,
13       the Boim case, B-O-I-M.
14              Q.         Boim involved Hamas-related
15       charities, correct?
16              A.         That's correct.
17              Q.         Have you ever given testimony
18       in a case where a Gulf charity was a
19       defendant?
20              A.         I don't think so.
21              Q.         Moving on, have you written --
22       I've looked at your publications and it
23       has taken quite a bit of time, but the
24       last article that I saw, which appears on
25       page A 77, that relates to Al Qaeda, is

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1                                LEVITT
2        some things are more analytical, but where
3        we can, we do try to be policy relevant.
4               Q.         In terms of your scholarship,
5        your extended scholarship is principally
6        with respect to Israel, Palestine, Hamas
7        and Hezbollah, is that correct?
8               A.         No, I wouldn't limit to that.
9                          I have developed particular
10       expertise in Hamas and Hezbollah, but I've
11       spent a significant amount of time in and
12       out of government focused on other
13       terrorist groups, most specifically Al
14       Qaeda and more recently the Islamic state.
15              Q.         I want to ask you some
16       questions just so I can understand the
17       scope of the expertise that you're
18       offering with respect to your opinion.
19                         Do you consider yourself, sir,
20       an expert on charities or nonprofit
21       organizations?
22              A.         That's a very broad question.
23                         I consider myself an expert on
24       the issue of terrorist abuse of charities.
25                         I would not say I am an expert

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1                                LEVITT
2        in all things charity.
3                          I have had the opportunity to
4        testify before Congress on this, engage in
5        conversations with members of the
6        charitable sector on this in and out of
7        government, I've spent a lot of time on
8        this, I teach about this, but when I say
9        this, I do mean the limited issue of the
10       ways in which charities can be vulnerable
11       to abuse, which of course includes noting
12       that not all charities are abused and
13       charity is a good thing.
14              Q.         Charities, I think you said in
15       your opinion, that charities, more than
16       other organizations, can be abused by
17       those who wish to do so, correct?
18              A.         I don't remember if that's how
19       I put it, but that's correct.
20              Q.         You studied Palestinian
21       charities extensively, have you?
22              A.         I have.
23              Q.         Have you studied Gulf charities
24       as well?
25              A.         I have.

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1                                LEVITT
2               Q.         Have you studied them in terms
3        of understanding their operations and
4        finances or only with respect to
5        investigating terrorist abuse?
6               A.         No, also with the operations,
7        et cetera, so I've met with officials of
8        Gulf charities, I've provided trainings
9        for Gulf states seeking to put in place
10       charitable oversight structures,
11       regulators.
12                         That included meeting with
13       regulators in Gulf countries and meeting
14       with officials from charities in these
15       countries.
16                         Again, that doesn't make me an
17       expert in how those charities operate, but
18       if you want to understand the ways in
19       which a sector might be vulnerable to
20       abuse, you have to have some understanding
21       of how they work.
22              Q.         Did you visit those Gulf
23       charities while you were at OFAC or while
24       you have been at WINEP, can I call it
25       WINEP, is that what you call it, or is it

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1                                LEVITT
2        WINEP, I've only read the acronym?
3               A.         Yeah, we call it The Washington
4        Institute, but I'll respond however you
5        would like to call it.
6                          To be clear, I never worked at
7        OFAC, Office of Foreign Assets Control, I
8        was in the Office of Intelligence and
9        Analysis, which along with OFAC is within
10       Treasury's Department of Terrorism and
11       Financial Intelligence.
12              Q.         Was OFAC an office within your
13       reporting structure or was it separate?
14              A.         It was parallel.
15              Q.         So you had no supervisory
16       authority in what you were doing, is that
17       correct?
18              A.         So the way --              it's not
19       structured this way anymore, but the way
20       it was structured at the time, the Office
21       of Intelligence and Analysis did a lot of
22       work with OFAC, OFAC would ultimately
23       implement sanctions, but the process of
24       researching, drafting, working on
25       designations was part of what Office of

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1                                LEVITT
2        Intelligence and Analysis, for which I was
3        the deputy assistant secretary, worked on
4        together with OFAC.
5               Q.         Whose decision was it to
6        implement or not implement sanctions
7        recommendation?
8               A.         Oh, a whole lot of different
9        people and a whole lot of different
10       offices in and well beyond Treasury.
11              Q.         Ultimately who was the
12       decision-maker?
13              A.         Ultimately the secretary of the
14       Treasury.
15              Q.         Would your office have input
16       into that decision?
17              A.         My office and many others in
18       and out of Treasury.
19              Q.         And your office wrote up the
20       recommendation package and dossier, is
21       that right?
22              A.         The specifics of how it works,
23       I can only get into so much detail, but,
24       yes; analysts would write up the various
25       drafts, it would have to go up through

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1                                LEVITT
2        various chains, I described the process as
3        best I could in my report.
4                          Part of that review went across
5        my desk.
6               Q.         You said that you met with Gulf
7        charities.
8                          Was that, I apologize for using
9        the term OFAC, was that when you were at
10       Treasury or when you were at The
11       Washington Institute?
12              A.         I can't answer the question
13       about Treasury because that was in my
14       capacity as an intelligence official.
15                         But it's certainly been as an
16       academic outside of government.
17              Q.         You've met with the directors
18       of Gulf charities?
19              A.         I believe it was with
20       directors; I don't remember titles and
21       names right now, it certainly was with
22       senior officials.
23              Q.         Which ones?
24              A.         Again, I'd have to look that
25       up, but I travel significantly --                     well,

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1                                LEVITT
2               Q.         Just coming on to areas of
3        expertise, do you consider yourself an
4        expert in accounting or finance?
5               A.         I have some experience, but I
6        do not consider myself an accounting
7        expert.
8               Q.         Do you have any formal training
9        in accounting or finance?
10              A.         Sorry, you cut off.
11              Q.         Do you have any formal training
12       in accounting or finance?
13              A.         No, I have no degree in
14       accounting or finance.
15                         Of course working at the
16       Department of Treasury one gets exposure
17       to such things, but, like I said, I do not
18       consider myself an expert in accounting.
19              Q.         And you're not a lawyer, but do
20       you consider yourself an expert in law?
21                         MR. HAEFELE:             Objection to
22       form.
23              Q.         I'm a lawyer, I don't consider
24       myself an expert, but I am going to ask
25       you that question.

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1                                 LEVITT
2               A.         I was about to say it's a very,
3        very broad question and I certainly don't
4        consider myself an expert in all things
5        legal.
6                          I do have a masters in law and
7        diplomacy, I consider myself someone who
8        has an understanding of certain issues in
9        the law, but I do not consider myself a
10       legal expert as such.
11              Q.         Do you consider yourself having
12       an expertise in the statutory framework
13       set forth by the U.S. government with
14       respect to terrorist designations?
15              A.         Yes, I have experience in that
16       and with other countries' regulatory
17       systems.
18              Q.         Do you consider yourself an
19       expert in evaluating audit reports?
20              A.         I really don't enjoy doing
21       that, so I suppose the answer is no, but
22       it has been --
23              Q.         No one does.
24              A.           --    for my sins, something
25       I've had to do from time to time.

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1                                LEVITT
2        there is a problem here inherent to Islam
3        in any way or particular to Muslim
4        charities.
5                          Charities are susceptible to
6        abuse.
7               Q.         Do you consider yourself an
8        expert in Islamic doctrine or practice?
9               A.         I have developed significant
10       understanding of the Muslim religion, but
11       I do not consider myself an expert on
12       religion or on Islam specifically, that's
13       a lifetime commitment I have not made.
14              Q.         Do you consider yourself an
15       expert on Islamic law or Sharif?
16              A.         Yes, it is the same answer; I
17       am not an expert on Islamic law, but I
18       have invested time and effort to try and
19       develop an understanding -- forgive me for
20       answering while I pour some water --
21              Q.         No, please.
22              A.         -- but I do not consider myself
23       an expert on Islamic religious law.
24              Q.         I didn't go over this and this
25       is not your first rodeo or mine, so if you

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1                                 LEVITT
2                          MR. HAEFELE:              Now you're asking
3        him to tell you what was possible; I'm not
4        instructing him --              I'm instructing him to
5        answer your question, and we aren't
6        waiving the privilege, but he has already
7        answered your question and I think you
8        need to move on.
9               Q.         Let me ask you this question;
10       at the time that you went into government
11       in or around 2005, were you familiar with
12       the International Islamic Relief
13       Organization?
14              A.         Yes.
15              Q.         Had you had the opportunity to
16       consider any information about the
17       International Islamic Relief Organization
18       in the Philippines?
19              A.         I don't recall.
20              Q.         Did you have any information
21       about the International Islamic Relief
22       Organization in Indonesia at the time that
23       you went into the government in 2005?
24              A.         I don't recall.
25              Q.         I think this is a breaking

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1                                LEVITT
2        point, it's 3:49 p.m.; would it be
3        acceptable to come back at 4 o'clock, Dr.
4        Levitt?
5               A.         Yes, that's fine with me.
6                          Again, I have a hard stop at 6
7        today, so if you need a shorter break, I
8        want to be as accommodating to you this
9        afternoon as I can.
10              Q.         I appreciate that, we have a
11       lot of folks and not that many bathrooms,
12       so we'll do our best and try to get going
13       as soon as we can.
14                         THE VIDEO TECHNICIAN: Time is
15       3:50 p.m., we're off the record.
16                         (Recess taken.)
17                         THE VIDEO TECHNICIAN: We are on
18       the record, time is 4:03 p.m., please
19       continue.
20       BY MR. LEWIS:
21                         MR. LEWIS: I would like to ask
22       our concierge, please, to mark the
23       document which has just been uploaded,
24       which I think is called invoices.
25                         I don't think it has a letter

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1                                 LEVITT
2        designation, and if you could mark that
3        and put it in front of the witness.
4                          THE TECH CONCIERGE:               This will
5        be 2002.
6                          (Defendants' Exhibit 2002,
7        Invoices, was marked for identification,
8        as of this date.)
9                          MR. LEWIS:            Not the year,
10       because the document is from 2003, but the
11       number is 2002.
12              Q.         Dr. Levitt, can you identify
13       this document that has just been put up on
14       the screen?
15              A.         This looks like an invoice of
16       mine dated November 7, 2003.
17              Q.         It says "invoice for services
18       provided by Matthew A. Levitt as expert
19       witness"; is that your signature at the
20       bottom of the document?
21              A.         Yes.
22              Q.         It refers under date services
23       provided to October 9th, 2003, initial
24       meeting in Washington, and November 6,
25       2003, day-long meeting in Philadelphia.

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1                                LEVITT
2                          Does that refresh your
3        recollection, sir, that you had two
4        meetings with the Cozen O'Connor attorneys
5        in or around the fall of 2003?
6               A.         Honestly, no; I mean, I am not
7        disputing this invoice, but I don't
8        remember an initial meeting in Washington.
9                          I'm sure it took place, but...
10              Q.         Does it refresh your
11       recollection with respect to a day-long
12       meeting in Philadelphia for which you
13       billed 12 hours?
14              A.         Is it possible to remove --
15       there we go.
16                         (Witness perusing document.)
17              A.         This looks like this is the
18       meeting we discussed earlier.
19              Q.         Dr. Levitt, that was 2003, you
20       went into government 2005, you came out in
21       2007.
22                         If you look at the next page of
23       this document, it starts up again in
24       January of 2020.
25                         My question, sir, is, between

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1                                LEVITT
2        the time you left government in or around
3        January 2007 and January of 2020, which is
4        approximately 13 years, do you recall
5        whether you had any conversations with any
6        of the attorneys on this case about this
7        case?
8               A.         I don't think I did.
9                          MR. LEWIS:           I am going to ask
10       the concierge to be kind enough to mark as
11       2003 what we have designated as document B
12       and which I think we referred to earlier,
13       which was a memorandum for Barbara
14       Hammerle, and ask for that to be put put
15       up, please.
16                         (Defendants' Exhibit 2003,
17       memorandum for Barbara Hammerle, was
18       marked for identification, as of this
19       date.)
20              Q.         Dr. Levitt, is that your
21       initial on the first page of the memo next
22       to your name?
23              A.         It is.
24              Q.         And do you recall sending this
25       memo in or around 2006?

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1                                LEVITT
2               A.         I remember it happened, I don't
3        remember doing it, but, yeah, for purposes
4        of your question, yeah.
5               Q.         I'm still a little bit unclear
6        on your relationship to the Office of
7        Foreign Assets Control.
8                          Was it your responsibility as
9        deputy assistant secretary for the Office
10       of Intelligence and Analysis to prepare
11       this type of memo with respect to
12       designations under Executive Order 13224?
13              A.         Intelligence analysts in my
14       office would do the research and prepare
15       the evidentiary, which would go through
16       all the stages I discussed in my report,
17       within the Department of Treasury and
18       within and across the larger general
19       agency.
20                         Once it went through the vast
21       majority of those hurdles, the process was
22       that it would go in the form of a memo
23       like this from the Office of Intelligence
24       and Analysis to the Office of Foreign
25       Assets Control.

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1                                LEVITT
2                          Again, OFAC and OIA were both,
3        you could think of it as sister components
4        within the larger TFI, Terrorism and
5        Financial Intelligence branch of the
6        Treasury Department.
7               Q.         Once you prepared this memo,
8        your office would have already gone
9        through the interagency process in
10       compiling of information that's contained
11       therein, is that correct?
12              A.         Yes, it is possible that there
13       can still be other steps, but generally,
14       yes.
15                         At this point it has gone
16       through these various hoops, with the
17       exception, I believe, of the two stages of
18       legal review.
19                         The intelligence office would
20       be doing kind of the substantive
21       information based on all the various
22       sources and then it goes to OFAC and OFAC
23       doesn't just, you know, say sure, OFAC
24       then does its piece of this, which is the
25       legal review for sufficiency by OFAC

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1                                LEVITT
2        Treasury Department lawyers and the
3        simultaneous but very separate legal
4        review by lawyers at the Department of
5        Justice for litigation risk.
6               Q.         At the time that you prepared
7        this memorandum, had there been a dialogue
8        between your office and the office of the
9        secretary with respect to whether this
10       designation was approved or would be
11       approved?
12              A.         I am not going to get into the
13       internal conversations I had with Treasury
14       leadership.
15                         But these are not rogue, you
16       know, operations, this is part of the
17       department.
18                         So the department, it goes
19       through all the checks and all the
20       balances, no one's surprised, and so
21       authorities would be aware that this is in
22       process, that it had even been considered,
23       that it was approved at various levels, et
24       cetera and so the appropriate offices
25       would know.

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1                                 LEVITT
2               Q.         Approximately how long did the
3        process take from your office being
4        charged with investigating and considering
5        this designation to the preparation of
6        this memo which has been marked as 2003?
7               A.         These can be extensive
8        processes; more than that I can't say.
9               Q.         When you came to the Treasury
10       Department, was it already in process?
11              A.         That's very possible, I don't
12       remember.
13              Q.         Did you personally review the
14       evidentiary package before you signed the
15       agreement?
16              A.         Of course.
17              Q.         Did you review --
18              A.         I, like many, many others,
19       there are all these different levels that
20       have to be gone through.
21              Q.         Did you review the exhibits?
22              A.         Yes.
23              Q.         I assume there was a tremendous
24       amount of classified information that went
25       into this given that it's 754 pages and we

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1                                LEVITT
2        can read about eight of them, is that a
3        fair assumption?
4               A.         You can see that the document
5        that you put in front of me was at one
6        point classified top secret and more,
7        which has been redacted.
8               Q.         The current redactions continue
9        to remain, because it continues to remain
10       classified, is that right?
11              A.         As far as I know.
12              Q.         How many classification
13       designations did you work on during your
14       15 months at the Department of Treasury?
15              A.         Many.
16              Q.         More than ten, fewer than ten?
17              A.         More than ten.
18              Q.         How many memos like this one,
19       which then went to OFAC for final review,
20       would you have signed off on?
21              A.         Each of them.
22                         Well, yeah, each of the ones
23       that I was involved in.
24                         There is many different types
25       of sanction regimes and many different

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1                                 LEVITT
2        types of designations and I did not -- I
3        was not the from signatories that you see
4        here on all of them.
5                          But for the ones that were
6        related to terrorism and a variety of
7        other sanction regimes, that would have
8        been me at the time.
9               Q.         Can I then deduce that you
10       signed off on more than ten of these while
11       you were there?
12              A.         Yes.
13              Q.         Now, you refer in your report
14       to the preparation of an evidentiary
15       package.
16                         Is the evidentiary package what
17       appears here as the memorandum which
18       contains it looks like 13 pages or, yes,
19       it is numbered 13 on the bottom, is that
20       what you were referring to as the
21       evidentiary package, and then following
22       from that is an exhibit list and footnotes
23       and exhibits, is that correct?
24                         MR. HAEFELE:              Object to the
25       form.

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1                                LEVITT
2                          THE WITNESS:             Sorry?
3                          MR. HAEFELE:             I said objection
4        to form, but you can answer it.
5               A.         Evidentiary package is the
6        whole kit and caboodle to include this
7        memo of the kind of narrative, if you
8        will; it would include all of the
9        underlying information.
10              Q.         I think that you spoke in your
11       report about an evidentiary package
12       supported by an --             an evidence package
13       supported by exhibits, but maybe it is
14       just terminological.
15                         I just want to make sure that
16       we're on the same page as to how it's
17       done; maybe when we come back to the
18       substance on this, I can find that
19       reference in your report.
20                         There are exhibits and is that
21       a standard feature of this kind of
22       memorandum, that there is a list of
23       exhibits and then exhibits and then a list
24       of notes that cite the exhibits, is that
25       correct?

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1                                LEVITT
2        answer that question, please.
3               A.         I would do terrible on Jeopardy
4        for that reason.
5                          I did include, so I did rely
6        on, some number, but I don't think it was
7        all that many, of declassified
8        intelligence reports, because I thought
9        that would be useful.
10              Q.         There were reports that you
11       relied on, you were relying on the
12       unredacted material, not the redacted
13       material, correct?
14              A.         Clearly.
15              Q.         Obviously the Hammerle memo,
16       you saw the classified material, but now
17       it's redacted, correct?
18              A.         That's correct, and the nature
19       of the human brain is such that there is
20       no way I'd remember those details now,
21       anyway.
22              Q.         You've forgotten every single
23       bit of it, if you looked at the exhibits
24       you would have no idea what you looked at,
25       is that your testimony, sir?

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1                                LEVITT
2               A.         I think you're twisting my
3        words, so, no.
4               Q.         No, I'm asking you a question,
5        I am not twisting anything, I'm asking you
6        a question.
7               A.         If I were to look at the
8        report, would I remember other things,
9        maybe, maybe not.
10                         If I were to then look at the
11       exhibits, would that trigger something,
12       maybe, maybe not.
13                         You know, I don't know how good
14       your memory is, maybe mine is just
15       particularly poor, but I am not going to
16       remember every sentence or term or phrase
17       from a document that I reviewed quite a
18       few years ago.
19              Q.         You looked at classified
20       information; you can't say sitting here
21       today whether you recall some of that
22       classified information or you don't?
23              A.         I can definitively tell you
24       that I have forgotten a vast majority of
25       classified information I've ever seen,

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1                                LEVITT
2        that's the way the brain works and I
3        wanted it that way, that's why I turned in
4        my clearances, because I knew I'd be going
5        out into the open source world and I would
6        want to be able to go to conferences and
7        do media appearances or, not like what I
8        was thinking about at the time, but it
9        also enables me to do something like this,
10       serve as an expert witness, without having
11       to worry where do I know something from.
12                         And so I left government, each
13       time I had a several-month period where I
14       didn't speak publicly and I did not do
15       media and you kind of just let that kind
16       of settle and I don't think it is
17       surprising that if you don't review it, if
18       you're not exposed to it on a regular
19       basis, the brain is only so big and it is
20       filled by other current things.
21              Q.         And also there are things that
22       you remember from a long time ago and you
23       don't remember how you remember them,
24       isn't that a fair thing to say?
25              A.         Sure, mostly about, you know,

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1
2                C E R T I F I C A T I O N
3
4
5
6           I, Jineen Pavesi, a Registered
7        Professional Reporter, Registered Merit
8        Reporter, Certified Realtime Reporter and
9        a Notary Public, do hereby certify that
10       the foregoing witness, MATTHEW A. LEVITT,
11       was duly sworn on the date indicated, and
12       that the foregoing is a true and accurate
13       transcription of my stenographic notes.
14          I further certify that I am not employed
15       by nor related to any party to this
16       action.
17
18
19
20
21               <%5108,Signature%>
                 JINEEN PAVESI, RPR, RMR, CRR
22
23
24
25

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1
2        UNITED STATES DISTRICT COURT
3        SOUTHERN DISTRICT OF NEW YORK
4        Case No. 03-MDL-1570 (GBD) (SN)
5        -----------------------------------x.
6        IN RE: TERRORIST ATTACKS ON
7        SEPTEMBER 11, 2001
8        -----------------------------------x
                             April 8, 2021
9                            9:10 a.m.
10
11                         Continued Videotaped Deposition
12       via Zoom of MATTHEW A. LEVITT, pursuant to
13       Adjournment, before Jineen Pavesi, a
14       Registered Professional Reporter,
15       Registered Merit Reporter, Certified
16       Realtime Reporter and Notary Public of the
17       State of New York.
18
19
20
21
22
23
24
25

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1                                LEVITT
2        defined by the Afghans as a Jihad,
3        correct?
4               A.         Correct.
5               Q.         And do you have a view as to
6        whether that definition of Jihad was
7        legitimate as a matter of Islamic
8        doctrine?
9               A.         So I don't claim to be an
10       expert in Islamic doctrine, but there are
11       multiple legitimate definitions of the
12       term Jihad and this would certainly fill
13       one of them.
14                         One is kind of personal
15       self-improvement and religious
16       observeness, so would include things like
17       fasting in the holy month of Ramadan or
18       going on the pilgrimage of the Hajj or
19       other things that are about religious
20       observance or being a good person and that
21       is typically referred to as the greater
22       Jihad.
23                         That personal improvement is
24       typically referred to as the greater
25       Jihad, which we can all kind of identify

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1                                 LEVITT
2        its internal workings of formally passing
3        it over to OFAC.
4               Q.         You reviewed and approved it
5        before you initialed it, correct?
6               A.         Yes.
7               Q.         Were you aware at the time that
8        you prepared your report that this
9        document had been produced in the
10       litigation?
11              A.         Yes.
12              Q.         And you reviewed it and relied
13       on it but did not cite it in your report,
14       is that correct?
15                         MR. HAEFELE:              Object to form.
16              A.         I did not use it in my report
17       because it seemed kind of inappropriate
18       for the document that had my name on it.
19                         So I just, you know, I relied
20       on the other material, I think I included
21       the press release and the IIRO
22       designation.
23                         It just seemed a little --
24       like it would be a little strange.
25              Q.         I'd like to direct your

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1                                LEVITT
2        excluded anything.
3                          For the purpose of my limited
4        report, I included the part that was
5        relevant to my report.
6               Q.         Which was the part about
7        militant Jihad as opposed to peaceful
8        solution to the Kashmir problem, correct?
9               A.         My report is not about the
10       Kashmir problem.
11                         The report --              if a person in
12       one point says let's be peaceful and in
13       another says or talks about militancy, the
14       one doesn't, you know, nullify the other.
15                         What's interesting is the
16       promotion or discussion of militancy.
17                         We should be able to take for
18       granted when people say talk peacefully.
19                         So that's why one stands out as
20       being relevant for the purpose of my
21       report and the other does not, not to
22       exclude it, but the report, I don't want
23       this report to be 500 pages long.
24                         And so the question is, has a
25       WAMY official made a statement like this,

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1                                 LEVITT
2        relationships, particular financial
3        relationships, with entities tied to Al
4        Qaeda.
5               Q.         In your report, getting back to
6        page 29 --
7               A.         I can barely hear you, I think
8        maybe you've turned away from the
9        microphone, I can't see because there is a
10       document up.
11              Q.         Can you hear me now?
12              A.         Yes.
13              Q.         In your report, page 29, third
14       sentence of the second paragraph after the
15       quoted paragraph, you report reads, "The
16       CRA found that WAMY provided thousands of
17       dollars to U.N.-sanctioned Benevolence
18       International Foundation, BIF."
19                         Do you see that sentence?
20              A.         Yes.
21              Q.         Would you agree that, as the
22       Canadian Revenue Authority report reads,
23       the finding was as to WAMY Canada, not
24       WAMY (Saudi Arabia)?
25              A.         This is the WAMY in Canada,

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1                                LEVITT
2        that's the entity over which the CRA had
3        jurisdiction here.
4               Q.         And you also talk about in your
5        report the CRA noting that there had been
6        "adverse reporting" with respect to WAMY
7        and WAMY (Saudi Arabia), do you recall
8        that portion of your report?
9               A.         I think you're completing two
10       sentences, the last two sentences --
11              Q.         The last sentence, "The CRA
12       report went on to list examples of
13       'adverse reporting' on WAMY and its
14       affiliates, linking the groups to
15       terrorist organizations," that's the
16       sentence I'm referring to.
17              A.         Okay.
18              Q.         That adverse reporting that --
19              A.         Sorry, I can't hear you again.
20              Q.         The adverse reporting that
21       you're referring to, that appears at Bates
22       stamp 218181 of Exhibit 2024, if we can
23       pull that up, please.
24                         There are a number of different
25       reports; I'm just asking you, Dr. Levitt,

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1                                LEVITT
2        did you ever do anything independently to
3        verify or confirm any of the allegations
4        in any of the reports?
5               A.         I did not.
6               Q.         Whether or not the reported
7        incidents are reliable or accurate, you
8        can't say one way or the other because you
9        never did anything to confirm that
10       yourself, would you agree?
11                         MR. HAEFELE:             Objection to
12       form.
13              A.         I wouldn't quite put it that
14       way.
15                         By virtue of knowing CRA and
16       having had interactions with them, I
17       understand how thorough they are.
18                         Reports like these, including
19       media reports, which typically will be
20       used in reports like this just because
21       it's easier to cite to them than to
22       classified sources that might get to the
23       same reporting, are very, very careful.
24                         Actions like this by the CRA
25       are not common, so for the CRA to include

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1                                LEVITT
2        this type of information in a report, for
3        them to have a report like this at all, is
4        quite significant, I think.
5               Q.         Let's see how significant it
6        is.
7                          The first bullet on 218181
8        talks about a July 29, 2006, edition of
9        the Indian Express.
10              A.         It is the last bullet on the
11       page?
12              Q.         First bullet of the sequence.
13              A.         The last bullet, the full
14       paragraph on page 922, it starts "the July
15       29, 2006," if I'm understanding you
16       correctly.
17              Q.         Do you know anything about the
18       Indian Express?
19              A.         No.
20              Q.         Do you know their journalistic
21       standards?
22              A.         No, I have an understanding of
23       the standards of the CRA --
24              Q.         That's not what I'm asking you.
25              A.         It's relevant as explained; I

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1                                LEVITT
2        don't think I need to know the standards
3        of the Indian Express when I know the CRA,
4        and as I said, there might be reasons why
5        they would cite to something public, that
6        doesn't mean the Indian Express is the
7        ultimate foundational report for this
8        claim.
9               Q.         Just answer my questions.
10              A.         I think I am.
11              Q.         Do you know who wrote this
12       article?
13              A.         No.
14              Q.         Going to the next page, 218182,
15       the first bullet, please highlight that.
16                         Do you know the Jamestown
17       Foundation's Terrorism Monitor?
18                         MR. HAEFELE:             Objection.
19              A.         I do.
20              Q.         Do you have independent
21       knowledge of this October 2005 report?
22              A.         The Terrorism Monitor is
23       available on-line.
24                         I don't recall the last time I
25       looked this up, but it's there for anybody

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1                                LEVITT
2        to look at, I probably have.
3               Q.         Do you know who authored that
4        one, that bullet cited?
5               A.         The bullet or cited article?
6               Q.         I'm sorry, I asked the question
7        poorly.
8                          The article cited in this
9        bullet point, do you know who authored
10       that?
11              A.         Not offhand, we could show the
12       footnote if you wanted, the actual
13       footnote 27, and we could then see if it
14       says who it is and I can tell you if I
15       know who that is.
16              Q.         What it says is I guess a
17       Steven Schwartz, 2005; do you know Steven
18       Schwartz?
19              A.         I don't think I do.
20              Q.         And then if we can go to the
21       last bullet, this is --                  of this section,
22       218183, part of the adverse reporting that
23       the CRA cites is testimony by terrorism
24       consultants and analysts Matthew Epstein
25       and Evan Kohlmann.

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1                                 LEVITT
2        I couldn't hear you.
3               A.         Middle Eastern terrorism, 911
4        specifically, terrorist charity.
5               Q.         Do you have any other areas of
6        expertise that you're not using in this
7        case?
8               A.         I think another one that we
9        could mention is what I think is obvious,
10       the issue of illicit finance and
11       sanctions.
12                         I have been qualified in issues
13       related to Iran and the
14       Israeli-Palestinian arena, maybe that
15       describes the subsets of the larger issue,
16       and U.S. policy towards the Middle East
17       more broadly.
18              Q.         Do your two expert reports
19       contain all the opinions that you have for
20       purposes of this case?
21              A.         Yes.
22              Q.         I want to direct your attention
23       to your expert rebuttal report, if you can
24       take a look at that, and this is Exhibit
25       2005.

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1
2                C E R T I F I C A T I O N
3
4
5
6           I, Jineen Pavesi, a Registered
7        Professional Reporter, Registered Merit
8        Reporter, Certified Realtime Reporter and
9        a Notary Public, do hereby certify that
10       the foregoing witness, MATTHEW A. LEVITT,
11       was duly sworn on the date indicated, and
12       that the foregoing is a true and accurate
13       transcription of my stenographic notes.
14          I further certify that I am not employed
15       by nor related to any party to this
16       action.
17
18
19          <%5108,Signature%>
         JINEEN PAVESI, RPR, RMR, CRR
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21
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